Case 2:04-cr-20308-.]PI\/| Document 41 Filed 07/22/05 Page 1 of 3 Page|D 63

IN THE UNITED sTATEs DIsTRICT COURT |'EE. BY£°'G-

FOR THE wEsTERN DISTRICT oF TENNESSEE 05 _
wES'I‘ERN DIVISION JUL 22 PH |= 58

II'KJMA'S M, GOUD
G»ERK U.S, D¥S`Tl ; OCU-H
wh DF frissz

 

UNITED STATES OF AMERICA
Plaintiff,

V.

Criminal No. O_Z- ZQJ<D/ Ml

(90-Day Continuance)

(/a fema »/€;weJ

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF' 'I'IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

Th|e document entered on the docket sha»:§in commisch {
wnh sule ss and/or squ> mch on 3 05

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so oRDERED this 22nd day of July, 2005.

Q¢..Q m‘@$l@~

JON PHIPPS MCCALLA
TED STA'I'ES DISTRICT JUDGE

 

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Counsel for Defendant(s)

 

ISTRIC COURT - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CR-20308 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

Michael EdWin Scholl

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Honorable J on McCalla
US DISTRICT COURT

